           Case 2:21-cv-01430-RSL Document 1 Filed 10/18/21 Page 1 of 2

                                                          2:21-cv-1430 RSL
From:           Vanessa Wellness
To:             WAWDdb_NewCasesTac; WAWDdb_NewCasesSea
Subject:        Pro Se complaint
Date:           Monday, October 18, 2021 4:25:33 PM


CAUTION - EXTERNAL:

Jury trial: No
Plaintiff: Diana Wierzchos
Defendants:
Anthony Mendez and Swarovski

I. PARTIES

A. Plaintiff
Name: Diana Wierzchos
Street address: 4120 E Silver Springs Blvd
City and county: Marion county
State and zip code: Florida 34470
Telephone number 941-323-8575

B. Defendants

 Defendant no. 1
Name: Anthony Mendez
Job or title: manager
Address: unknown
Telephone number; unknown

Defendant no. 2
Name: Swarovski
Job or title: employer
Address: 1 Kenney Drive
         Cranston, RI 02920
Phone number: (800) 289-4900

II. BASIS FOR JURISDICTION

Federal question

A. If the basis for jurisdiction is a federal question
 List the specific federal statutes of the United States constitution that are at issue in
this case

13th amendment. 18 U.s.c. 1595 Debt bondage, peonage, and/or involuntary
servitude. Civil remedy against labor trafficking. Trafficking victims protection act.

III. Statement of claim
        Case 2:21-cv-01430-RSL Document 1 Filed 10/18/21 Page 2 of 2



 Anthony Mendez, manager at Swarovski palm beach in 2014, withheld 15 days pay,
travel expenses incurred while opening the new store, and vacation pay. He violated
my civil right to privacy during shift in March 2014, he stole information without my
consent. He read my paycheck after stepping in my space and ran out to go report it
to another party. I was owed money for travel expenses, which were not received
because he assumed “that’s not your money!” He then knowingly scheduled me for
work the next two weeks to pay for it, deliberately to pay for what he thought wasn’t
correct. He garnished my wages and future earnings owed and then asked me to
work extra shifts so his manger could leave on vacation knowing he froze my wages.
If I had known he was going to freeze my paycheck I wouldn’t of worked the half
months schedule. Consequently, I was forced to move in with a criminal because not
received payment. Because Anthony Mendez and Swarovski illegally withheld and
failed to pay the money I worked for. He was using debt bondage, peonage, and/or
involuntary servitude for repayment what he assumed but did not investigate. He
caused me to be homeless for weeks. Damages not limited to unpaid wages, but
negatively imbalance other aspects such as mental health and lack control. Debt
bondage when you’re tricked into working for little or no pay. The money earned goes
to pay off a loan.

IV. RELIEF
 Approx. two weeks paycheck, travel expenses approx. 650 miles, approx. 20 hours
vacation pay, other expenses

V. CERTIFICATION AND CLOSING
 I certify that this complaint (1) is not being presented for an improper purpose, such
as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a non frivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary
support, or if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the complaint
otherwise complied with the requirement of Rule 11.
 I agree to provide the clerks office with any changes to my address where case
related papers may be served. I understand that my failure to keep a current address
on file with the clerks office may result in the dismissal of my case
Date signed: October 18, 2021
Signature: Diana Wierzchos

(not able to access printer)


CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
when opening attachments or clicking on links.
